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                     EXHIBIT 9
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                                                                                                                   EXHIBIT 9
                                                                            Travis Pittman <jtpittman@hphattorneys.com>



FW: Potential Discussion on Resolving VoIP-Pal Case (VoIP-Pal v. AT&T, et al.; USDC
D.C. 1-24-cv-03051-RDM)
1 message

Culley, Daniel P. <dculley@cgsh.com>                                                     Sun, Jan 5, 2025 at 3:43 PM
To: "jtpittman@hphattorneys.com" <jtpittman@hphattorneys.com>, "sean@parmenterip.com" <sean@parmenterip.com>
Cc: "Gelfand, David I."<dgelfand@cgsh.com>, "Bennett, Elsbeth" <ebennett@cgsh.com>

  Dear Mr. Pittman and Mr. Parmenter:

 I am in receipt of Ray Leon's email to Mark Nelson below. Cleary Gottlieb will be representing T-Mobile in VoIP-Pa/v.
 AT&T, 24-cv-3051 (D.D.C.), as well as the contemporaneously filed putative class action, lnza v.AT&T, 24-cv-3054
  (D.D.C.). Any further communications regarding these cases should be directed to me and my colleagues Dave Gelfand
  and Elly Bennett (cc'd here).

 It is unclear to us if Mr. Leon has authority to discuss this case on behalf of VoIP-Pal or if you are representing him with
 respect to either of these cases. While we do not believe these cases have any merit, if your clients wish to discuss them,
 we are happy to schedule a call at your convenience.

  Regards,


  Dan




 Daniel P. Culley I Lawyer, District of Columbia

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 From: Ray Leon <ray@outpace.com>
 Sent: Monday, December 23, 2024 4:18:57 PM
 To: Nelson, Mark <Mark.Nelson@t-mobile.com>
 Subject: Potential Discussion on Resolving VoIP-Pal Case (VoIP-Pal v. AT&T, et al.; USDC D.C. 1-24-cv-
 03051-RDM)




 lcextemall



  Dear Mr. Nelson,

  I hope this message finds you well.
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I serve as an advisor to the Board of Directors of VoIP-Pal in the above-referenced case, in which T-Mobile is
named as a defendant.

We are preparing to effect service of process in the near future. Before proceeding, I wanted to inquire if there is
interest in discussing potential solutions to the issues raised in the complaint. If so, could you kindly introduce me
to the appropriate individual who might be able to facilitate such a conversation?

Thank you for your time and consideration. I look forward to hearing from you.

Respectfully,



Ray Leon

Advisor to the Board of Directors of VoIP-PAL

mobile: 1-561-212-2882




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